             Case 19-56547-sms                       Doc 1               Filed 04/29/19 Entered 04/29/19 12:18:42                            Desc
                                                                        Petition Page 1 of 59
                                                                                                       -FILO) .1N    OFHL:
 Fill in this information to identify your case:                                                       US eANKRUPTCY
                                                                                                          NORTHERN I
 United States Bankruptcy Court for the:
 Northern District

 Case number (If known):               56 5                         4p2u       are filing under:
                                                                    21 Chapter 7
                                                                                                      ?OH PR 29 PH 12:
                                                                                                                                   HAS
                                                                                                                                         1


                                                                    0 Chapter 11
                                                                    0 Chapter 12
                                                                    a Chapter 13                                                            this is an
                                                                                                                            YrIP   w. amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Mil          Identify Yourself

                                       About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
      Write the name that is on your   Anita
      government-issued picture
      identification (for example,     First name                                                    First name
      your driver's license or
      passport).                       Middle name                                                   Middle name

      Bring your picture               Chester
      identification to your meeting   Last name                                                     Last name
      with the trustee.
                                       Suffix (Sr., Jr., II, Ill)                                    Suffix (Sr., Jr., II, Ill)




2. All other names you
   have used in the last 8             First name                                                    First name
   years
      Include your married or          Middle name                                                   Middle name
      maiden names.
                                       Last name                                                     Last name


                                       First name                                                    First name


                                       Middle name                                                   Middle name


                                       Last name                                                     Last name




3. Only the last 4 digits of
                                       xxx       — xx —             2     6    6      1              XXX       — xx—
   your Social Security
   number or federal                   OR                                                            OR
   Individual Taxpayer
   Identification number               9 xx -        xx -                                             9 xx -       xx -
   (ITIN)

Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1     Anita        Y chester                                                                     Case number Of known)
             First Name      Muddle Name                Last Name




                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
   and Employer                            121 I have not used any business names or EINs.                    •      have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years                        Business name                                                      Business name
   Include trade names and
   doing business as names
                                           Business name                                                      Business name



                                           EIN                                                                EIN


                                           EIN                                                                EIN




s. Where you live                                                                                             If Debtor 2 lives at a different address:


                                           4748 White Oak Path
                                           Number          Street                                             Number        Street




                                           Stone Mountain                           Ga       30088
                                           City                                     State    ZIP Code         City                                 State     ZIP Code


                                           County                                                             County

                                           If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                           above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                        any notices to this mailing address.



                                           Number          Street                                             Number        Street


                                           P.O. Box                                                           P.O. Box


                                           City                                     State    ZIP Code         City                                 State     ZIP Code




6. Why you are choosing                    Check one:                                                         Check one:
   this district to file for
                                                  Over the last 180 days before filing this petition,         O Over the last 180 days before filing this petition,
   bankruptcy
                                                  I have lived in this district longer than in any              I have lived in this district longer than in any
                                                  other district.                                               other district.

                                           0 I have another reason. Explain.                                  O I have another reason. Explain.
                                                  (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)




  Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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Debtor 1    Anita         Y chester                                                                   Case number Of known)
             First Name      Middle Name               Last Name




Part 2:    Tell the Court About Your Bankruptcy Case


7. The chapter of the                      Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
   Bankruptcy Code you                     for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
                                           •     Chapter 7
   under
                                           O Chapter 11

                                           O Chapter 12

                                           •     Chapter 13


8. How you will pay the fee                0 I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                 local court for more details about how you may pay. Typically, if you are paying the fee
                                                 yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                 submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                 with a pre-printed address.

                                           O I need to pay the fee in installments. If you choose this option, sign and attach the
                                             Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                           El I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9. Have you filed for                      0 No
   bankruptcy within the
   last 8 years?                           la Yes. District                                   When                       Case number
                                                                                                     MM/ DD / YYYY
                                                       District                               When                       Case number
                                                                                                     MM/ DD / YYYY
                                                       District                               When                       Case number
                                                                                                     MM/ DD / YYYY



lo. Are any bankruptcy                     O No
    cases pending or being
    filed by a spouse who is               0 Yes.       Debtor                                                           Relationship to you
    not filing this case with                           District                              When                       Case number, if known
    you, or by a business                                                                            MM/DD / YYYY
    partner, or by an
    affiliate?
                                                        Debtor                                                            Relationship to you
                                                        District                              When                       Case number, if known
                                                                                                     MM / DD / YYYY


it Do you rent your                            0 No. Go to line 12.
   residence?                                  0 Yes. Has your landlord obtained an eviction judgment against you?

                                                         ZI No. Go to line 12.
                                                        0    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                             part of this bankruptcy petition.




  Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1       Anita       Y chester                                                                     Case number (if known)
              First Name        Middle Name             Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                 lI No. Go to Part 4.
    of any full- or part-time
    business?                                 0 Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                       Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
    LLC.                                               Number       Street

    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.
                                                        City                                                      State           ZIP Code


                                                       Check the appropriate box to describe your business:
                                                       O Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                       O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                       CI   Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                       O Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       O None of the above


13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    are you a small business
    debtor?
                                              gi No. I am not filing under Chapter 11.
    For a definition of small
    business debtor, see                      0 No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                              0 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                       Bankruptcy Code.


Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any                    21 No
    property that poses or is
    alleged to pose a threat                  0 Yes.    What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                        If immediate attention is needed, why is it needed?
    immediate attention?
   For example, do you own
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent repairs?
                                                        Where is the property?
                                                                                  Number        Street




                                                                                  City                                                State   ZIP Code


  Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                     page 4
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Debtor 1      Anita        Y chester                                                                    Case number (if known)
              First Name     Middle Name            Last Name




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                 You must check one:
    counseling.
                                              I received a briefing from an approved credit                    U I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you                 I received a briefing from an approved credit                    O I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court                                                                                  Within 14 days after you file this bankruptcy petition,
                                              Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
    will lose whatever filing fee                                                                                  plan, if any.
                                              plan, if any.
    you paid, and your creditors
    can begin collection activities           I certify that I asked for credit counseling                     O I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.

                                              To ask for a 30-day temporary waiver of the                           To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                       requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                     what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                     you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                            bankruptcy, and what exigent circumstances
                                              required you to file this case.                                       required you to file this case.
                                              Your case may be dismissed if the court is                            Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                    dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                             briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                 If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.               still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                         You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                     agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                     developed, if any. If you do not do so, your case
                                              may be dismissed.                                                     may be dismissed.
                                              Any extension of the 30-day deadline is granted                       Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                      only for cause and is limited to a maximum of 15
                                              days.                                                                 days.

                                           0 I am not required to receive a briefing about                      O I am not required to receive a briefing about
                                              credit counseling because of:                                       credit counseling because of:

                                              U Incapacity.      I have a mental illness or a mental                O Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                              deficiency that makes me
                                                                 incapable of realizing or making                                      incapable of realizing or making
                                                                 rational decisions about finances.                                    rational decisions about finances.
                                              O Disability.      My physical disability causes me                   O Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                      to be unable to participate in a
                                                                 briefing in person, by phone, or                                      briefing in person, by phone, or
                                                                 through the internet, even after I                                    through the internet, even after I
                                                                 reasonably tried to do so.                                            reasonably tried to do so.
                                              O Active duty. I am currently on active military                      O Active duty. I am currently on active military
                                                             duty in a military combat zone.                                       duty in a military combat zone.

                                              If you believe you are not required to receive a                      If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.                motion for waiver of credit counseling with the court.




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Debtor 1      Anita       Y chester                                                                     Case number (if known)
             First Name     Middle Name               Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                          16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                      as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                               O No. Go to line 16b.
                                               O Yes. Go to line 17.

                                          16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                               money for a business or investment or through the operation of the business or investment.

                                               U No. Go to line 16c.
                                               O Yes. Go to line 17.

                                          16c. State the type of debts you owe that are not consumer debts or business debts.



17.Are you filing under
   Chapter 7?                             0   No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after llI Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is              administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                        0 No
    administrative expenses
    are paid that funds will be         0 Yes
    available for distribution
    to unsecured creditors?

18.How many creditors do                      1-49                                      1,000-5,000                              0   25,001-50,000
   you estimate that you                  0   50-99                                 0   5,001-10,000                                 50,001-100,000
   owe?                                   U 100-199                                 0   10,001-25,000                            0   More than 100,000
                                              200-999

19.How much do you                            $0-$50,000                                $1,000,001-$10 million                       $500,000,001-$1 billion
   estimate your assets to                    $50,001-$100,000                          $10,000,001-$50 million                  0   $1,000,000,001410 billion
   be worth?                                  $100,001-$500,000                         $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                              $500,001-$1 million                       $100,000,001-$500 million                0   More than $50 billion

20.How much do you                            $0450,000                                 $1,000,001-$10 million                       $500,000,001-$1 billion
   estimate your liabilities                  $50,001-$100,000                      0   $10,000,001450 million                   0   $1,000,000,001410 billion
   to be?                                     $100,001-$500,000                         $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                              $500,001-$1 million                       $100,000,001-$500 million                0   More than $50 billion
Part 7:    Sign Below

                                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                   correct.
                                          If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                          of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                          under Chapter 7.
                                          If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                          this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                          I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                          I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                          with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                          18 U.S.0 §§ 152, 1341, 1519, and 3571.



                                              Signature of D1 or 1                                               Signature of Debtor 2

                                              Executed on          /
                                                                   1    417?                                     Executed on
                                                                  MM     DD / YYY                                                MM / DD    / YYYY


  Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     Anita        Y chester                                                                  Case number (if known)
             First Name     Middle Name              Last Name




                                          I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are             to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                        available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                          the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                              Date
                                              Signature of Attorney for Debtor                                                MM    /    DD / YYYY




                                             Printed name



                                              Firm name



                                              Number      Street




                                              City                                                            State           ZIP Code




                                              Contact phone                                                   Email address




                                              Bar number                                                      State




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Debtor 1     Anita        Y chester                                                           Case number (rknown)
             First Name     Middle Name            Last Name




For you if you are filing this            The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                     should understand that many people find it extremely difficult to represent
attorney                                  themselves successfully. Because bankruptcy has long-term financial and legal
                                          consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                   To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                   technical, and a mistake or inaction may affect your rights. For example, your case may be
                                          dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                          hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                          firm if your case is selected for audit. If that happens, you could lose your right to file another
                                          case, or you may lose protections, including the benefit of the automatic stay.

                                          You must list all your property and debts in the schedules that you are required to file with the
                                          court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                          in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                          property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                          also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                          case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                          cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                          Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                          If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                          hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                          successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                          Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                          be familiar with any state exemption laws that apply.

                                          Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                          consequences?
                                          O No
                                          RI Yes

                                          Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                          inaccurate or incomplete, you could be fined or imprisoned?
                                          O No
                                          •     Yes

                                          Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                          IA No
                                          O Yes. Name of Person
                                                 Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                          By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                          have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                          attorney may cause me to lose my rights or property if I do not properly handle the case.




                                              Signature of Debtor
                                                                       dAhl-re-ti                      Signature of Debtor 2


                                          Date                      a-ry?
                                                               MM/ DD   /Y   Y
                                                                                                       Date
                                                                                                                        MM/ DD / YYYY

                                          Contact phone                                                Contact phone


                                          Cell phone                                                   Cell phone


                                          Email address                                                Email address




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   Fill in this information to identify your case:


   Debtor 1          Anita y chester
                        First Name              Middle Name               Last Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name               Last Name


   United States Bankruptcy Court for the: Northern District of Georgia

   Case number
   Of known)                                                                                                                        0 Check if this is an
                                                                                                                                       amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                 04/16

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        0 Married
        121 Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?

        21 No
        0 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
               Debtor 1:                                          Dates Debtor 1      Debtor 2:                                          Dates Debtor 2
                                                                  lived there                                                            lived there


                                                                                      0 Same as Debtor I                                0 Same as Debtor 1
                                                                  From                                                                     From
                Number               Street                                              Number Street
                                                                  To                                                                       TO




                 City                         State ZIP Code                             City                    State ZIP Code

                                                                                      0 Same as Debtor 1                                0 Same as Debtor 1
                                                                   From                                                                    From
                Number               Street                                              Number Street
                                                                  TO                                                                       To




                City                          State ZIP Code                             City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        Of No
        0 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


   Part 2: Explain the Sources of Your Income

Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                        page 1
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Debtor 1       Anita y chester                                                                          Case number Of known)
                First Name      Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      121 No
      0 Yes. Fill in the details.
                                                             Debtor 1                                             ' Debtor 2

                                                             Sources of income           Gross income               Sources of income            Gross income
                                                             Check all that apply.       (before deductions and     Check all that apply.        (before deductions and
                                                                                         exclusions)                                             exclusions)

                                                             O Wages, commissions,                                  O     Wages, commissions,
            From January 1 of current year until
                                                               bonuses, tips                                              bonuses, tips
            the date you filed for bankruptcy:
                                                             O Operating a business                                 O Operating a business


                                                             O Wages, commissions,                                  O     Wages, commissions,
            For last calendar year:
                                                               bonuses, tips                                              bonuses, tips
            (January 1 to December 31,                   ) 0      Operating a business                              O     Operating a business
                                              YYYY


            For the calendar year before that:               CI   Wages, commissions,                               •     Wages, commissions,
                                                                  bonuses, tips                                           bonuses, tips
            (January 1 to December 31                    )   0    Operating a business                              O     Operating a business
                                              YYYY



 5.   Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      a No
      0    Yes. Fill in the details.
                                                             Debtor 1                                                   Debtor 2

                                                             Sources of income           Gross income from              Sources of income        Gross income from
                                                             Describe below.             each source                    Describe below.          each source
                                                                                         (before deductions and                                  (before deductions and
                                                                                         exclusions)                                             exclusions)



            From January 1 of current year until
            the date you filed for bankruptcy:




            For last calendar year:
            (January 1 to December 31,               )
                                              YYYY




            For the calendar year before that:
            (January 1 to December 31,               )
                                              YYYY




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Debtor 1      Anita y chester                                                                     Case number (if known)
               First Name       Middle Name           Last Name



 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     gl No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
            "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               O No. Go to line 7.

               O Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     0     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               QI No. Go to line 7.

               O Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                      creditor. Do not include payments for domestic support obligations, such as child support and
                      alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                         Dates of   Total amount paid         Amount you still owe   Was this payment for...
                                                                         payment



                      Creditor's Name
                                                                                                                                     0 Mortgage
                                                                                                                                     0 Car
                      Number    Street                                                                                               CI Credit card
                                                                                                                                     0 Loan repayment
                                                                                                                                     0 Suppliers or vendors
                      City                    State        ZIP Code                                                                  0 Other


                                                                                                                                     0 Mortgage
                      Creditor's Name
                                                                                                                                     0 Car
                      Number    Street                                                                                               0 Credit card
                                                                                                                                     0 Loan repayment
                                                                                                                                     0 Suppliers or vendors
                      City                    State        ZIP Code
                                                                                                                                     0 Other


                                                                                                                                     CI Mortgage
                      Creditor's Name
                                                                                                                                     CI Car
                      Number    Street                                                                                               CI Credit card
                                                                                                                                        Loan repayment

                                                                                                                                     0 Suppliers or vendors
                      City                    State        ZIP Code
                                                                                                                                     0 Other



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Debtor 1      Anita y chester                                                                       Case number Of known)
                  First Name      Middle Name           Last Name




 7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

      21 No
      0 Yes. List all payments to an insider.
                                                                       Dates of      Total amount      Amount you still     Reason for this payment
                                                                       payment       paid              owe


           Insider's Name



           Number        Street




           City     '                           State   ZIP Code




           Insiders Name


           Number        Street




           City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

      21 No
      0 Yes. List all payments that benefited an insider.
                                                                      Dates of       Total amount      Amount you still     Reason for this payment
                                                                      payment        paid              owe                  Include creditor's name



           Insiders Name



           Number        Street




           City                                 State   ZIP Code




           Insider's Name



           Number        Street




           City                                 State   ZIP Code




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Debtor 1      Anita y chester                                                                               Case number (ifknown)
                First Name         Middle Name           Last Name




  Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     El No
     0 Yes. Fill in the details.
                                                                Nature of the case                   Court or agency                              Status of the case


            Case title                                                                             Court Name
                                                                                                                                                  0 Pending
                                                                                                                                                  0 On appeal
                                                                                                   Number       Street                            0 Concluded
            Case number
                                                                                                   ;City                     State   ZIP Code




            Case title                                                                             Court Name
                                                                                                                                                  0 Pending
                                                                                                                                                  0 On appeal
                                                                                                   ;Number      Street                            0 Concluded
            Case number
                                                                                                   i City                    State   ZIP Code



  10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     g     No. Go to line 11.
     0 Yes. Fill in the information below.
                                                                          Describe the property                                       Date      Value of the property




                 Creditors Name



                 Number      Street                                       Explain what happened

                                                                          0    Property was repossessed.
                                                                          0    Property was foreclosed.
                                                                          0    Property was garnished.
                 City                            State   ZIP Code         D    Property was attached, seized, or levied.

                                                                          Describe the property                                       Date       Value of the propertl




                 Creditor s Name



                 Number      Street
                                                                          Explain what happened

                                                                               Property was repossessed.
                                                                               Property was foreclosed.
                                                                               Property was garnished.
                 City                            State   ZIP Code
                                                                               Property was attached, seized, or levied.



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Debtor 1          Anita y chester                                                                        Case number (,known)
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     10 No
     O Yes. Fill in the details.

                                                                 Describe the action the creditor took                          Date action      Amount
                                                                                                                                was taken
           Creditor's Name



           Number       Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX—


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?
     O No
     O Yes


COS               List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
     O Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                             Dates you gave      Value
             per person                                                                                                         the gifts




           Person to Whom You Gave the Gift




           Number       Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600                Describe the gifts                                         Dates you gave     Value
           per person                                                                                                           the gifts



           Person to Whom You Gave the Gift




           Number       Street



           City                           State   ZIP Code


           Person's relationship to you


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Debtor 1          Anita y chester                                                                            Case number (fm...)
                    First Name      Middle Name          Last Name




 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     RI    No
           Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                 Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                 contributed




           Charity's Name




           Number        Street



           City            State     ZIP Code




  Part 6:            List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

           No
     1:1 Yes. Fill in the details.


            Describe the property you lost and                   Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                     loss              lost
                                                                 Include the amount that insurance has paid. List pending insurance
                                                                 claims on line 33 of Schedule A/B: Properly.




  Part 7:         List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
      you consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     GA    No
     1:1   Yes. Fill in the details.

                                                                 Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                      transfer was
            Person Who Was Paid                                                                                                       made


             Number        Street




             City                        State    ZIP Code


             Email or website address

             Person Who Made the Payment, if Not You


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Debtor 1        Anita y chester                                                                              Case number (if known)
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                 Date payment or      Amount of
                                                                                                                                      transfer was made    payment

            Person Who Was Paid



            Number       Street




            City                        State    ZIP Code




            Email or website address



            Person Who Made the Payment, if Not You



 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     g No
     •     Yes. Fill in the details.

                                                                    Description and value of any property transferred                 Date payment or      Amount of payment
                                                                                                                                      transfer was
                                                                                                                                      made
            Person Who Was Paid



            Number        Street




            City                        State    ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
           No
     U Yes. Fill in the details.
                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made

            Person Who Received Transfer



            Number        Street




            City                        State    ZIP Code


            Person's relationship to you


            Person Who Received Transfer



            Number        Street




            City                        State    ZIP Code

            Person's relationship to you

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Debtor 1        Anita y chester                                                                            Case number (if known)
                   First Name      Middle Name          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     121 No
     O Yes. Fill in the details.

                                                                Description and value of the property transferred                                              Date transfer
                                                                                                                                                               was made


           Name of trust




  Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     g No
     O Yes. Fill in the details.

                                                                    Last 4 digits of account number   Type of account or            Date account was        Last balance before
                                                                                                      instrument                    closed, sold, moved,    closing or transfer
                                                                                                                                    or transferred

            Name of Financial Institution
                                                                    xxxx-                             0   Checking

            Number        Street
                                                                                                      0   Savings
                                                                                                      El Money market
                                                                                                          Brokerage
            City                        State    ZIP Code
                                                                                                          Other


                                                                    xxxx-                             0   Checking
            Name of Financial Institution
                                                                                                      0   Savings

            Number        Street                                                                      0   Money market
                                                                                                      0   Brokerage
                                                                                                      0   Other
            City                        State    ZIP Code

  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
           No
     CI    Yes. Fill in the details.
                                                                    Who else had access to it?                    Describe the contents                            Do you still
                                                                                                                                                                   have it?

                                                                                                                                                                   O No
            Name of Financial Institution                                                                                                                          O Yes
                                                                Name


            Number        Street                                Number      Street


                                                                City          State     ZIP Code

            City                        State    ZIP Code



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Debtor 1        Anita y chester                                                                                        Case number (if known)
                   First Name      Middle Name              Last Name



22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
      El No
      U Yes. Fill in the details.
                                                                   Who else has or had access to it?                         Describe the contents          Do you still
                                                                                                                                                            have it?

                                                                                                                                                             El No
            Name of Storage Facility                               Name                                                                                      U Yes

            Number        Street                                    Number    Street


                                                                    CityState ZIP Code

            City                        State    ZIP Code



 Part 9:             Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
       51 No
       U Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property      Value


            Owner's Name

                                                                  Number     Street
            Number        Street



                                                                  City                            State     ZIP Code
            City                        State     ZIP Code


  Part 10:            Give Details About Environmental information

  For the purpose of Part 10, the following definitions apply:
  •    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  •    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

  •    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

       121 No
       U Yes. Fill in the details.
                                                                   Governmental unit                            Environmental law, if you know it      Date of notice



           Name of site                                           Governmental unit


           Number       Street                                    Number     Street


                                                                  City                   State   ZIP Code



           City                        State     ZIP Code




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Debtor   -1      Anita y chester                                                                                     Case number ufknown)
                      First Name      Middle Name          Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     at No
     U Yes. Fill in the details.
                                                                  Governmental unit                              Environmental law, if you know it                  Date of notice



               Name of site                                      Governmental unit


               Number        Street                              Number    Street



                                                                 City                 State    ZIP Code


               City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     121 No
     U Yes. Fill in the details.
                                                                                                                                                                      Status of the
                                                                   Court or agency                                    Nature of the case
                                                                                                                                                                      case

              Case title
                                                                                                                                                                     •    Pending
                                                                   Court Name
                                                                                                                                                                     U On appeal
                                                                   Number    Street                                                                                  •    Concluded

              Case number                                          City                       State   ZIP Code



 Part 11:               Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              U A member of a limited liability company (LLC) or limited liability partnership (LLP)
              U A partner in a partnership
              U An officer, director, or managing executive of a corporation
              U An owner of at least 5% of the voting or equity securities of a corporation

     g No. None of the above applies. Go to Part 12.
     U Yes. Check all that apply above and fill in the details below for each business.
                                                                   Describe the nature of the business                              Employer Identification number
                                                                                                                                    Do not include Social Security number or ITIN.
               Business Name

                                                                                                                                    EIN:
               Number        Street
                                                                   Name of accountant or bookkeeper                                 Dates business existed


                                                                                                                                     From               To
               City                        State    ZIP Code
                                                                   Describe the nature of the business                              Employer Identification number
                                                                                                                                    Do not include Social Security number or ITIN.
               Business Name

                                                                                                                                     EIN:
               Number        Street
                                                                   Name of accountant or bookkeeper                                 Dates business existed


                                                                                                                                     From               To
               City                        State    ZIP Code


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Debtor   1      Anita y chester                                                                            Case number (if known)
                     First Name      Middle Name          Last Name




                                                                  Describe the nature of the business                      Employer Identification number
                                                                                                                           Do not include Social Security number or ITIN.
              Business Name

                                                                                                                           EIN:
              Number        Street
                                                                  Name of accountant or bookkeeper                         Dates business existed



                                                                                                                           From                To
              City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     M No
     0       Yes. Fill in the details below.

                                                                  Date issued



              Name                                                MM / DD / YYYY



              Number        Street




              City                        State    ZIP Code




 Part 12:            Sign Below


         I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
         answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
         in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
         18 U.S.C. §§ 152, 1341, 1519, and 3571.




              Signature of Debt                                                    Signature of Debtor 2


              Date                                                                 Date
         Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

         El No
         0     Yes



         Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
         121 No
              Yes. Name of person                                                                                . Attach the Bankruptcy Petition Preparers Notice,
                                                                                                                   Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:


Debtor 1              Anita Y Chester
                      First Name                 Middle Name                   Last Name

Debtor 2
(Spouse, if filing)   First Name                 Middle Name                   Last Name


United   States Bankruptcy Court for the: Northern District of Georgia

Case number
                                                                                                                                               0 Check if this is an
                                                                                                                                                   amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                        12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

          No. Go to Part 2.
    0 Yes. Where is the property?
                                                                       What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                        O     Single-family home                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
              Street address, if available, or other description
                                                                        0     Duplex or multi-unit building
                                                                        O Condominium or cooperative                     Current value of the     Current value of the
                                                                        O     Manufactured or mobile home                entire property?         portion you own?
                                                                        O     Land
                                                                        O     Investment property
                                                                        O     Timeshare                                  Describe the nature of your ownership
              City                            State     ZIP Code                                                         interest (such as fee simple, tenancy by
                                                                        •     Other
                                                                                                                         the entireties, or a life estate), if known.
                                                                       Who has an interest in the property? Check one.
                                                                        0 Debtor 1 only
              County                                                    0 Debtor 2 only
                                                                        0 Debtor 1 and Debtor 2 only                     0   Check if this is community property
                                                                                                                             (see instructions)
                                                                        0 At least one of the debtors and another
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
    If you own or have more than one, list here:
                                                                    What is the property? Check al[ that apply.          Do not deduct secured claims or exemptions. Put
                                                                       O     Single-family home                          the amount of any secured claims on Schedule D:
      1.2.                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                       O     Duplex or multi-unit building
              Street address, if available, or other description
                                                                       O Condominium or cooperative                      Current value of the     Current value of the
                                                                       O Manufactured or mobile home                     entire property?         portion you own?
                                                                       O     Land
                                                                       O     Investment property
                                                                                                                         Describe the nature of your ownership
                                                                       O     Timeshare
              City                            State      ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                       O     Other                                       the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one
                                                                    0 Debtor 1 only
              County                                                0 Debtor 2 only
                                                                    0 Debtor 1 and Debtor 2 only                         CI Check if this is community property
                                                                    0 At least one of the debtors and another                (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


Official Form 106A/B                                                   Schedule A/B: Property                                                              page 1
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Debtor 1       Anita Y Chester                                                                             Case number (if known)
                   First Name     Middle Name            Last Name




                                                                     What is the property? Check all that apply.               Do not deduct secured claims or exemptions. Put
                                                                     El Single-family home                                     the amount of any secured claims on Schedule D:
     1.3.                                                                                                                      Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description       U     Duplex or multi-unit building
                                                                     •     Condominium or cooperative                          Current value of the     Current value of the
                                                                                                                               entire property?         portion you own?
                                                                     El Manufactured or mobile home
                                                                     El Land
                                                                     •     Investment property
            City                            State     ZIP Code       U Timeshare                                               Describe the nature of your ownership
                                                                                                                               interest (such as fee simple, tenancy by
                                                                     El Other                                                  the entireties, or a life estate), if known.

                                                                     Who has an interest in the property? Check one.
                                                                           Debtor 1 only
            County
                                                                     El Debtor 2 only
                                                                           Debtor 1 and Debtor 2 only                          U    Check if this is community property
                                                                                                                                    (see instructions)
                                                                     El At least one of the debtors and another

                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:



2 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
  you have attached for Part 1. Write that number here.                                                                                           4




Part 2:       Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    0   No
        Yes


    3.1.    Make:                        pontiac                     Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
            Model:                       Solstice                    10 Debtor 1 only
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                         2007                        El Debtor 2 only
             Year:                                                                                                             Current value of the      Current value of the
                                                                     0 Debtor 1 and Debtor 2 only
                                         89000                                                                                 entire property?          portion you own?
            Approximate mileage:                                     0 At least one of the debtors and another
            Other information:
                                                                                                                                          1695.00                   1695.00
                                                                     U Check if this is community property (see
                                                                       instructions)



    If you own or have more than one, describe here:

            Make:                                                    Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
    3.2.
                                                                                                                               the amount of any secured claims on Schedule D:
            Model:                                                   El Debtor 1 only
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                     U Debtor 2 only
            Year:                                                                                                              Current value of the      Current value of the
                                                                     U Debtor 1 and Debtor 2 only
                                                                                                                               entire property?          portion you own?
            Approximate mileage:                                     0 At least one of the debtors and another
            Other information:
                                                                     U Check if this is community property (see
                                                                       instructions)




Official Form 106A/B                                                     Schedule A/B: Property                                                                  page 2
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Debtor *I      Anita Y Chester                                                                      Case number Of known)
                First Name       Middle Name       Last Name




    3.3.    Make:                                              Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
            Model:                                             0 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                               0 Debtor 2 only
            Year:                                                                                                      Current value of the      Current value of the
                                                               0 Debtor 1 and Debtor 2 only
            Approximate mileage:                                                                                       entire property?          portion you own?
                                                               0 At least one of the debtors and another
            Other information:
                                                               U Check if this is community property (see
                                                                 instructions)


    3.4.    Make:                                              Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
            Model:                                             0 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                               D Debtor 2 only
            Year:                                                                                                      Current value of the      Current value of the
                                                               0 Debtor 1 and Debtor 2 only
            Approximate mileage:                                                                                       entire property?          portion you own?
                                                               0 At least one of the debtors and another
            Other information:
                                                               0 Check if this is community property (see
                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       No
    0 Yes

            Make:                                              Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions, Put ,
    4.1.
                                                                                                                       the amount of any secured claims on Schedule D:
            Model:                                             0 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                               0 Debtor 2 only
            Year:
                                                               0 Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
            Other information:                                 0 At least one of the debtors and another               entire property?          portion you own?

                                                               0 Check if this is community property (see
                                                                  instructions)



    If you own or have more than one, list here:

    4.2.    Make:                                              Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
            Model:                                             0 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                               0 Debtor 2 only
            Year:                                                                                                      Current value of the      Current value of the
                                                               0 Debtor 1 and Debtor 2 only                            entire property?          portion you own?
            Other information:                                 0 At least one of the debtors and another

                                                                  Check if this is community property (see
                                                                  instructions)




5   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
    you have attached for Part 2. Write that number here                                                                                  4




Official Form 106A/B                                            Schedule A/B: Property                                                                   page 3
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Debtor 1       Anita Y Chester                                                                  Case number (if known)
                 First Name    Middle Name       Last Name




Part 3:      Describe Your Personal and Household Items

                                                                                                                                Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                               portion you own?
                                                                                                                                Do not deduct secured claims
                                                                                                                                or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
        No
      O Yes. Describe          living roodining roomm bedroom                                                                                       800.00


7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                collections; electronic devices including cell phones, cameras, media players, games
      CINo
      O Yes. Describe          tv                                                                                                                   100.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   O No
   O Yes. Describe

6. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
      O No
      O Yes. Describe


10. Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      10 No
      O Yes. Describe

11. Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      • No
      O Yes. Describe         regular clothing                                                                                                      300.00



12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
      O No
      O Yes. Describe

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      O No
      • Yes. Describe


14. Any other personal and household items you did not already list, including any health aids you did not list

      O No
      O Yes. Give specific
        information.

15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                   1100.00
      for Part 3. Write that number here                                                                                    4


 Official Form 106A/B                                        Schedule A/B: Property                                                           page 4
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Debtor 1      Anita Y Chester                                                                 Case number (if known)
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Part 4:      Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   Li No
   O Yes                                                                                                      Cash:                                    50.00



17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.

   O No
   21 Yes                                                     Institution name:


                             17.1. Checking account:

                             17.2. Checking account:

                             17.3. Savings account:

                             17.4. Savings account:

                             17.5. Certificates of deposit:

                             17.6. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   RI No
   O Yes                      Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

        No                    Name of entity:                                                                  % of ownership:
    0   Yes. Give Specific                                                                                     0%
        information about
        them
                                                                                                               0%
                                                                                                               0%




 Official Form 106A/B                                         Schedule A/B: Property                                                              page 5
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Debtor 1     Anita Y Chester                                                                    Case number (if known)
               First Name    Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   gl No
   0 Yes. Give specific      Issuer name:
     information about
     them




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   621 No
   O Yes. List each
     account separately.     Type of account:           Institution name:

                             401(k) or similar plan:

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   Ul No
   O Yes                                           Institution name or individual:
                             Electric:

                             Gas:

                             Heating oil:

                              Security deposit on rental unit:

                             Prepaid rent:

                              Telephone:

                              Water:

                             Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   •   No
   U Yes                      Issuer name and description:




Official Form 106A/B                                             Schedule NB: Property                                                   page 6
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Debtor 1     Anita Y Chester                                                                     Case number (if known)
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
   O Yes                              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   El No
   O Yes. Give specific
     information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   10 No
   O Yes. Give specific
     information about them....


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   10 No
   O Yes. Give specific
     information about them....


Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you
   121 No
   O Yes. Give specific information                                                                                Federal:
          about them, including whether
          you already filed the returns                                                                            State:
          and the tax years.
                                                                                                                   Local:



29.Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   121 No
   CI   Yes. Give specific information
                                                                                                                  Alimony:
                                                                                                                  Maintenance:
                                                                                                                  Support:
                                                                                                                  Divorce settlement:
                                                                                                                  Property settlement:

30.Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
             Social Security benefits; unpaid loans you made to someone else
   El No
   O Yes. Give specific information




 Official Form 106A/B                                         Schedule NB: Property                                                                  page 7
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Debtor 1      Anita      Y Chester                                                                      Case number Of known)
                First Name     Middle Name           Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   1:1 No
   •   Yes. Name the insurance company            Company name:                                            Beneficiary:                             Surrender or refund value:
            of each policy and list its value....




32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   O No
   O Yes. Give specific information



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   O No
   •   Yes. Describe each claim.


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   O No
   O Yes. Describe each claim




35. Any financial assets you did not already list

   •   No
   O Yes. Give specific information



36 Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here                                                                                                    4                            50.00




Part 5:      Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   O No. Go to Part 6.
   O Yes. Go to line 38.

                                                                                                                                                  Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                  or exemptions.

38. Accounts receivable or commissions you already earned

   O No
   O Yes. Describe


39. Office equipment, furnishings, and supplies
   Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   O No
   O Yes. Describe




Official Form 106A/B                                             Schedule A/B: Property                                                                        page 8
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Debtor 1     Anita Y Chester                                                            Case number of known)
               First Name   Middle Name         Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

        No
   O Yes. Describe



41. Inventory
        No
     O Yes. Describe


42.Interests in partnerships or joint ventures
   R1   No
   Li   Yes. Describe       Name of entity:                                                               % of ownership:




43.Customer lists, mailing lists, or other compilations
   UI No
   O Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
             LI No
             1:1 Yes. Describe



44.Any business-related property you did not already list
   U1 No
   LI Yes. Give specific
      information




45.Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                      0.00
   for Part 5. Write that number here                                                                                  4


Part 6:      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46.00 you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   21 No. Go to Part 7.
   lj Yes. Go to line 47.
                                                                                                                            Current value of the
                                                                                                                            portion you own?
                                                                                                                            Do not deduct secured claims
                                                                                                                            or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

   0 No
   LI Yes




 Official Form 106A/B                                       Schedule A/B: Property                                                       page 9
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48. Crops—either growing or harvested

   al No
   O Yes. Give specific
     information.

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    al No
   O Yes



50.Farm and fishing supplies, chemicals, and feed

   la No
   CI Yes



51.Any farm- and commercial fishing-related property you did not already list
   al No
   O Yes. Give specific
     information.

52 Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                        0.00
   for Part 6. Write that number here                                                                                       4



Part 7:     Describe All Property You Own or Have an Interest in That You Did Not List Above


53.Do you have other property of any kind you did not already list?
   Examples: Season tickets, country club membership

   10 No
   CI Yes. Give specific
      information.




54.Add the dollar value of all of your entries from Part 7. Write that number here



Part 8:     List the Totals of Each Part of this Form


55.Part 1: Total real estate, line 2                                                                                         4

56.Part 2: Total vehicles, line 5                                                        1695

57.Part 3: Total personal and household items, line 15                                 1100.00

58.Part 4: Total financial assets, line 36                                               50.00

59.Part 5: Total business-related property, line 45                                       0.00

60.Part 6: Total farm- and fishing-related property, line 52                              0.00

61.Part 7: Total other property not listed, line 54                      +$               0.00

62.Total personal property. Add lines 56 through 61.                                   1150.00   Copy personal property total 4   + $           1150.00


63.Total of all property on Schedule A/B. Add line 55 + line 62.                                                                               2845.00



Official Form 106A/B                                          Schedule A/B: Property                                                           page 10
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 Fill in this information to identify your case:

 Debtor 1          Anita Y chester
                     First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 Of known)
                                                                                                                                        0 Check if this is an
                                                                                                                                            amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      IA You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      U You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the      Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from       Check only one box for each exemption.
                                                          Schedule NB

      Brief
      description:                                                                     $

      Line from                                                                     0 100% of fair market value, up to
      Schedule A/B:                                                                    any applicable statutory limit


      Brief
      description:                                                                     $

      Line from                                                                     LI 100% of fair market value, up to
      Schedule NB:                                                                     any applicable statutory limit

      Brief
      description:                                                                     $

      Line from                                                                     0 100% of fair market value, up to
      Schedule A/B:                                                                    any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
     0     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           121 No
           U      Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                           page 1 of
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Debtor 1      Anita Y chester                                                                Case number Of known)
             First Name     Middle Name        Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief
     description:                                                             Us
     Line from                                                                0 100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                0 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit


     Brief
     description:                                                             Us
     Line from                                                                0 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                0 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                O 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit


     Brief
     description:                                                             Us
     Line from                                                                O 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                    100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                0 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit


     Brief
     description:                                                             Us
     Line from                                                                0 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                0 100% of fair market value, up to
     Schedule AB:                                                                 any applicable statutory limit

     Brief
     description:                                                             Us
     Line from                                                                0 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit


     Brief
     description:                                                             Us
     Line from                                                                0 100% of fair market value, up to
     Schedule A/B:                                                                any applicable statutory limit



Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                      page   L . of
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Fill in this information to identify your case:


 Debtor 1          Anita Y Chester
                    First Name                 Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name                   Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (If known)                                                                                                                               U Check if this is an
                                                                                                                                            amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      a
      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   U Yes. Fill in all of the information below.

Part 1:         List All Secured Claims
                                                                                                                        Column A   Column B              Column C
15.List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim            Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the         that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.      claim                 If any
2.1
                                                        Describe the property that secures the claim:
      Creditor's Name


      Number            Street

                                                        As of the date you file, the claim is: Check all that apply.
                                                         LI   Contingent
                                                              Unliquidated
      City                        State   ZIP Code       O Disputed
  Who owes the debt? Check one.                          Nature of lien. Check all that apply.
   O Debtor 1 only                                       U An agreement you made (such as mortgage or secured
   O Debtor 2 only                                         car loan)
   O Debtor 1 and Debtor 2 only                          U Statutory lien (such as tax lien, mechanic's lien)
   O At least one of the debtors and another             O Judgment lien from a lawsuit
                                                         O Other (including a right to offset)
  U     Check if this claim relates to a
        community debt
  Date debt was incurred                                 Last 4 digits of account number
2.2                                                      Describe the property that secures the claim:
      Creditor's Name


      Number            Street

                                                         As of the date you file, the claim is: Check all that apply.
                                                         •    Contingent
                                                         •    Unliquidated
      City                        State   ZIP Code
                                                         U Disputed
  Who owes the debt? Check one.                          Nature of lien. Check all that apply.
   O Debtor 1 only                                       • An agreement you made (such as mortgage or secured
  1:1 Debtor 2 only                                        car loan)
  LI    Debtor 1 and Debtor 2 only                       O Statutory lien (such as tax lien, mechanic's lien)
  1:1 At least one of the debtors and another            O Judgment lien from a lawsuit
                                                         O Other (including a right to offset)
  O Check if this claim relates to a
    community debt
  Date debt was incurred                                 Last 4 digits of account number —        —    —     —
      Add the dollar value of your entries in Column A on this page. Write that number here:

 Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of
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Debtor 1         Anita Y Chester                                                                                Case number (irk...)
                  First Name     Middle Name          Last Name


                                                                                                                          Column A               Column B              Column C
               Additional Page
                                                                                                                          Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                                                  that supports this    portion
                                                                                                                          Do not deduct the
               by 2.4, and so forth.                                                                                      value of collateral.   claim                 If any

                                                      Describe the property that secures the claim:
   Creditors Name


   Number             Street


                                                      As of the date you file, the claim is: Check all that apply.
                                                      O    Contingent
     City                         State    ZIP Code   •    Unliquidated
                                                      O    Disputed

 Who owes the debt? Check one.                        Nature of lien. Check all that apply.
 O      Debtor 1 only                                 O    An agreement you made (such as mortgage or secured
 O      Debtor 2 only                                      car loan)
 O      Debtor 1 and Debtor 2 only                    O    Statutory lien (such as tax lien, mechanic's lien)
 O      At least one of the debtors and another       O    Judgment lien from a lawsuit
                                                      O    Other (including a right to offset)
 LI     Check if this claim relates to a
        community debt

 Date debt was incurred                               Last 4 digits of account number

                                                      Describe the property that secures the claim:
     Creditors Name


     Number           Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                      O    Contingent
                                                      •    Unliquidated
     City                         State    ZIP Code   LI   Disputed
 Who owes the debt? Check one.
                                                      Nature of lien. Check all that apply.
 O      Debtor 1 only
                                                      CI   An agreement you made (such as mortgage or secured
 O      Debtor 2 only                                      car loan)
 O      Debtor 1 and Debtor 2 only                    O    Statutory lien (such as tax lien, mechanic's lien)
 CI     At least one of the debtors and another       O    Judgment lien from a lawsuit
                                                      O    Other (including a right to offset)
 O Check if this claim relates to a
   community debt

 Date debt was incurred                               Last 4 digits of account number


                                                      Describe the property that secures the claim:
     Creditors Name


      Number          Street


                                                      As of the date you file, the claim is: Check all that apply.
                                                      O    Contingent
      City                        State    ZIP Code   •    Unliquidated
                                                      LI   Disputed

 Who owes the debt? Check one.                        Nature of lien. Check all that apply.
 O      Debtor 1 only                                 O    An agreement you made (such as mortgage or secured
  O     Debtor 2 only                                      car loan)
  O     Debtor 1 and Debtor 2 only                    O    Statutory lien (such as tax lien, mechanic's lien)
  O     At least one of the debtors and another       O    Judgment lien from a lawsuit
                                                      LI   Other (including a right to offset)
 O Check if this claim relates to a
   community debt
 Date debt was incurred                               Last 4 digits of account number

             Add the dollar value of your entries in Column A on this page. Write that number here:
             If this is the last page of your form, add the dollar value totals from all pages.
             Write that number here:

Official Form 106D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page       of
             Case 19-56547-sms                   Doc 1        Filed 04/29/19 Entered 04/29/19 12:18:42                                   Desc
                                                             Petition Page 35 of 59
Debtor 1       Anita Y Chester                                                                  Case number (if known)
               First Name    Middle Name         Last Name


                List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor?
      Name                                                                                 Last 4 digits of account number


      Number        Street




      City                                          State          ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor?
      Name                                                                                 Last 4 digits of account number


      Number        Street




      City                                          State          ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?

      Name                                                                                Last 4 digits of account number


      Number        Street




      City                                          State          ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                Last 4 digits of account number


      Number        Street




      City                                         State           ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?

      Name                                                                                Last 4 digits of account number


      Number        Street




      City                                         State          ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?

      Name                                                                                Last 4 digits of account number


      Number        Street




      City                                         State          ZIP Code



Official Form 106D                         Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                              page       of
                 Case 19-56547-sms                         Doc 1         Filed 04/29/19 Entered 04/29/19 12:18:42                                           Desc
                                                                        Petition Page 36 of 59
  Fill in this information to identify your case:

  Debtor 1          Anita Y Chester
                      First Name                   Middle Name               Last Name

  Debtor 2
  (Spouse, if filing) First Name                   Middle Name               Last Name

  United States Bankruptcy Court for the: Northern District of Georgia

  Case number
                                                                                                                                                         CI Check if this is an
  (If known)                                                                                                                                                 amended filing


Official Form 1 06E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors VVho Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:          List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
      U No. Go to Part 2.
      I21 Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim      Priority       Nonpriority
                                                                                                                                                        amount         amount
2.1
        Celtic Bank Indigo                                          Last 4 digits of account number 8           3     1       1   $             502 $          502 $            502
       Priority Creditor's Name
        Po box 4499                                                 When was the debt incurred?
       Number            Street

                                                                    As of the date you file, the claim is: Check all that apply.
        Beaverton                     or gge• 97076
                                                                    21 Contingent
       City                               State     ZIP Code
                                                                    •    Unliquidated
       Who incurred the debt? Check one.                            CI   Disputed
        VI Debtor 1 only
        O Debtor 2 only                                             Type of PRIORITY unsecured claim:
        O Debtor 1 and Debtor 2 only
                                                                    U    Domestic support obligations
               At least one of the debtors and another
                                                                    U    Taxes and certain other debts you owe the government
        O Check if this claim is for a community debt               •    Claims for death or personal injury while you were
       Is the claim subject to offset?                                   intoxicated

        LI No                                                       U    Other. Specify
        U Yes
2.2     Comenity Bank                                               Last 4 digits of account number        1     3    0       1    $          98.00
       Priority Creditor's Name
                                                                    When was the debt incurred?           08/2018
        p o box 182789
       Number            Street
                                                                    As of the date you file, the claim is: Check all that apply.

        Columbus oh 43218                                           Eir Contingent
        City                              State     ZIP Code        •    Unliquidated

        Who incurred the debt? Check one.                           •    Disputed

        •      Debtor 1 only
                                                                    Type of PRIORITY unsecured claim:
        O Debtor 2 only
                                                                    •    Domestic support obligations
        O Debtor 1 and Debtor 2 only
                                                                    O    Taxes and certain other debts you owe the government
        0      At least one of the debtors and another
                                                                    O    Claims for death or personal injury while you were
        O Check if this claim is for a community debt                    intoxicated
       Is the claim subject to offset?                              g    Other. Specify   loan
        121 No
        U Yes


 Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of
               Case 19-56547-sms                       Doc 1            Filed 04/29/19 Entered 04/29/19 12:18:42                                     Desc
                                                                       Petition Page 37 of 59
Debtor 1          Anita Y Chester                                                                         Case number (if known)
                   First Name     Middle Name          Last Name


 Part 1:           Your PRIORITY Unsecured Claims — Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                            Total claim   Priority   Nonpriority I
                                                                                                                                                 amount     amount


      Comenity bank/forever21                                      Last 4 digits of account number       2    7    6      3             98.00 $
     Priority Creditor's Name
      po box 182120                                                When was the debt incurred?          10/2018
      Number            Street

                                                                   As of the date you file, the claim is: Check all that apply.

      Columbus oh 43218                                            g    Contingent
      City                              State     ZIP Code         •    Unliquidated
                                                                   O Disputed
      Who incurred the debt? Check one.
      g Debtor 1 only                                              Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                   •    Domestic support obligations
      O Debtor 1 and Debtor 2 only
                                                                   O Taxes and certain other debts you owe the government
      0      At least one of the debtors and another
                                                                   O Claims for death or personal injury while you were
                                                                     intoxicated
      O Check if this claim is for a community debt
                                                                   g Other. Specify catalog order
      Is the claim subject to offset?
      g      No
      O Yes


      Credit one bank                                              Last 4 digits of account number
                                                                                                         0    6     9     8        $   576.00 $
      Priority Creditor's Name

      po box 98873                                                 When was the debt incurred?          11/2018
      Number             Street

                                                                   As of the date you file, the claim is: Check all that apply.

      las vegas nv 89193                                           O Contingent
      City                               State    ZIP Code         •    Unliquidated
                                                                   O Disputed
      Who incurred the debt? Check one.
      O Debtor 1 only                                              Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                   •    Domestic support obligations
      O Debtor 1 and Debtor 2 only
                                                                   CI   Taxes and certain other debts you owe the government
      CI At least one of the debtors and another                   O Claims for death or personal injury while you were
                                                                     intoxicated
      U Check if this claim is for a community debt
                                                                   g Other. Specify credit card
      Is the claim subject to offset?
      10 No
      O Yes

      Santander Consumer                                           Last 4 digits of account number °          5     5     3        $ 14960.00 $
      Priority Creditors Name
      8585 N Stemmons fwy st                                       When was the debt incurred?          10/2014
      Number             Street

                                                                   As of the date you file, the claim is: Check all that apply.

      dallas tx 75247                                              g    Contingent
      City                               State    ZIP Code         •    Unliquidated
                                                                   •    Disputed
      Who incurred the debt? Check one.
      g Debtor 1 only                                              Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                   U Domestic support obligations
      O Debtor 1 and Debtor 2 only
                                                                   O Taxes and certain other debts you owe the government
      CI At least one of the debtors and another                   O Claims for death or personal injury while you were
                                                                     intoxicated
      U Check if this claim is for a community debt
                                                                   g Other. Specify car loan

      Is the claim subject to offset?
             No
      0      Yes


Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                  page_ of
                   Case 19-56547-sms                          Doc 1          Filed 04/29/19 Entered 04/29/19 12:18:42                                     Desc
                                                                            Petition Page 38 of 59
 Debtor 1           Anita Y Chester                                                                         Case number (if known)
                    First Name           Middle Name         Last Name


  Part 2:          List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      El No. You have nothing to report in this part. Submit this form to the court with your other schedules.
         Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.1    Impact recievables                                                            Last 4 digits of account number           2     8   0    I
       Nonprionty Creditors Name
                                                                                                                                                                        678.00
                                                                                     When was the debt incurred?
       11104 w airport blvd ste 199
       Number              Street

       Stafford tx77477
       City                                               State          ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                                     g     Contingent
       Who incurred the debt? Check one.                                             •     Unliquidated
       Ul Debtor 1 only                                                              O     Disputed
       O Debtor 2 only
       O Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim:
       0      At least one of the debtors and another                                O     Student loans

       O Check if this claim is for a community debt                                 O     Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?                                               O     Debts to pension or profit-sharing plans, and other similar debts
       •      No                                                                     1:1   Other. Specify   rental
       •      Yes


       Capital accounts                                                              Last 4 digits of account number                 3                                  630.00
       Nonpriority Creditors Name                                                    When was the debt incurred?
       po box 140065
       Number              Street
       Nashville tn                                       37214                      As of the date you file, the claim is: Check all that apply.
       City                                               State          ZIP Code
                                                                                     O     Contingent
       Who incurred the debt? Check one.                                             •     Unliquidated
                                                                                     O     Disputed
       •      Debtor 1 only
       O Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only
       0      At least one of the debtors and another                                C.1 Student loans
                                                                                     O     Obligations arising out of a separation agreement or divorce
       O Check if this claim is for a community debt                                       that you did not report as priority claims
       Is the claim subject to offset?                                               O     Debts to pension or profit-sharing plans, and other similar debts

       LI No                                                                         O     Other. Specify

       O Yes

4.3
               _napr
       Nonpriority Cr      'tos Name
                                         rio€)/)--L.                                 Last 4 digits of account number           6 ,T IT                         sJoal,
                                                                                     When was the debt incurred?
            /1      Ci•&            Ai     C2     4/ °0



       City
                           StrOalt                        UT 8•1 //,
                                                          State          ZIP Code
                                                                                     As of the date you file, the claim is: Check all that apply.


       Who incurred the debt? Check one.
                                                                                     W     Contingent
                                                                                     O     Unliquidated
              Debtor 1 only
                                                                                     O     Disputed
              Debtor 2 only
       •      Debtor 1 and Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
       0      At least one of the debtors and another
                                                                                     lj Student loans
       lj Check if this claim is for a community debt                                O     Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is/ the claim subject to offset?
                                                                                     O     Debts to pension or profit-sharing plans, and other similar debts
      H&No
      I
                                                                                     O     Other. Specify
       O Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page     of
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Debtor 1           Anita Y Chester                                                                          Case number (if known)
                   First Name          Middle Name        Last Name


 Part 2:       Your NONPRIORITY Unsecured Claims — Continuation Page



 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                          Total claim



                                                                                        Last 4 digits of account number
      Nonpriority Creditor
                                                     CALt
                                                                                        When was the debt incurred?

                                                                                        As of the date you file, the claim is: Check all that apply.

                                                        State         ZIP Code          O    Contingent
                                                                                        •    Unliquidated
      Who incurred the debt? Check one.                                                 O    Disputed
      2( Debtor 1 only
      O Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only
                                                                                        O    Student loans
      0 At least one of the debtors and another                                         O    Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                        O    Debts to pension or profit-sharing plans, and other similar debts
      Is thp claim subject to offset?                                                   O    Other. Specify      -\


             Yes




                                  eft-               ItJ                                Last 4 digits of account number                                            te2i
              ority Cr ditors Nam.ei
                                                                                                                                       —Lq-- IS
                   )1e0 10
                                                                                        When was the debt incurred?
          • 060/


                                                 all-
       Inbar treet
                                                                                        As of the date you file, the claim is: Check all that apply.
      Accwitsnet Vi                                        0, 6004        49
      City                                              State         ZIP Code          V    Contingent
                                                                                        •    Unliquidated
      Who incurred the debt? Check one.                                                 O    Disputed
      °A./Debtor 1 only
      O Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only
                                                                                        O    Student loans
      0 At least one of the debtors and another                                         CI   Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                        O    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   El Other. Specify
      49No
      0 Yes


                                                                                        Last 4 digits of account number              a/ e2

                                                                                        When was the debt incurred?

      Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.

      City                                              State         ZIP Code              bontingent

      W o incurred the debt? Check one.
                                                                                        lj   Unliquidated
                                                                                        CI   Disputed
              ebtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only
                                                                                        O    Student loans
      0 At least one of the debtors and another                                         O    Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                        O    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   •    Other. Specify


             Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                page     of
             Case 19-56547-sms                        Doc 1              Filed 04/29/19 Entered 04/29/19 12:18:42                              Desc
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Debtor 1       Anita Y Chester                                                                       Case number (ir known)
                 First Name     Middle Name           Last Name


 Part 3:     List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


      -Tkom                                                                    On which entry in Part 1 or Part 2 did you list the original creditor?

     "Pogo,/ 109 ,E,6„,,A„,                                                    Line       of (Check one): 0      Part 1: Creditors with Priority Unsecured Claims
             veStreet                                                                                        0   Part 2: Creditors with Nonpriority Unsecured Claims

     N(un;et       leil Die, 9 0 e 26>                                         Last 4 digits of account number
      City                                    State               ZIP Code


                  er.515                                                       On which entry in Part 1 or Part 2 did you list the original creditor?

     Nrbx                        a4O3 57                                       Line       of (Check one): 5"Part 1: Creditors with Priority Unsecured Claims
      Number           Street
                                                                                                             O Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims   9553 c2
      6144 a                                                                   Last 4 digits of account number 02- Y3_             41
      City                                    State               ZIP   Code

       g6*.ieist‘--1
      Name
                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?


       1 ')
      Number
             O/ jflt agbol
                       Street
                                                                               Line        of (Check one):       Part 1: Creditors with Priority Unsecured Claims
                                                                                                             O Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

     gLQh
      City
                                       PA.       /9 /e)
                                              State               ZIP Code
                                                                               Last 4 digits of account number5


      Dif".„file)                                                              On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                               Line        of (Check one): XiTart 1: Creditors with Priority Unsecured Claims
        PC 6her                      SO
      NuMber           Street                                                                                •   Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims 414, .44?

             0                  adqe_eo       State               ZIP Code
                                                                               Last 4 digits of account number 4/             5-Ze
                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                               Line        of (Check one):   0    Part 1: Creditors with Priority Unsecured Claims
      Number           Street                                                                                0    Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

                                                                               Last 4 digits of account number           _
      City                                    State               ZIP Code                                         _
                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                               Line        of (Check one): 0      Part 1: Creditors with Priority Unsecured Claims
      Number           Street                                                                                O Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims

                                                                               Last 4 digits of account number
      City                                    State               ZIP Code


                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                               Line        of (Check one): 0      Part 1: Creditors with Priority Unsecured Claims
      Number           Street
                                                                                                             O Part 2: Creditors with Nonpriority Unsecured
                                                                               Claims


      City                                    State               ZIP Code
                                                                               Last 4 digits of account number


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                page        of
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Debtor 'I   Anita Y Chester                                                                Case number (fknown)
               First Name    Middle Name         Last Name



Part 4:     Add the Amounts for Each Type of Unsecured Claim


S. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                      Total claim


                6a. Domestic support obligations                               6a.
Total claims
from Part 1
                 6b. Taxes and certain other debts you owe the
                     government                                                6b.

                 6c.Claims for death or personal injury while you were
                    intoxicated                                                6c.

                 6d.Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d



                 6e. Total. Add lines 6a through 6d.                           6e.
                                                                                      $4,31

                                                                                      Total claim

                 6f. Student loans                                             6f.
Total claims
from Part 2
                 6g.Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                 6h.Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.

                 6i. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                   6i.   + $



                 6j.Total. Add lines 6f through 61.                            6j.




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                page   of
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                                                              Petition Page 42 of 59

 Fill in this information to identify your case:


  Debtor              Anita y Chester
                      First Name            Middle Name                 Last Name

  Debtor 2
 (Spouse If filing)   First Name            Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (If known)                                                                                                                             LI Check if this is an
                                                                                                                                           amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
       0 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       1:1 Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for


2.1
       Name

       Number            Street

       City                             State      ZIP Code

2.2
       Name

       Number           Street

       City                             State      ZIP Code
2.31
       Name

       Number           Street

       City                             State      ZIP Code
2.4
       Name

       Number           Street

       City                             State      ZIP Code
2.5
       Name

       Number           Street

       City                             State      ZIP Code


Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of
               Case 19-56547-sms                          Doc 1       Filed 04/29/19 Entered 04/29/19 12:18:42                    Desc
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 Debtor 1      Anita y Chester                                                                   Case number (if known)
                 First Name     Middle Name              Last Name




                 Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                            What the contract or lease is for




        Name


        Number        Street


        City                                  State     ZIP Code



        Name


        Number        Street


        City                                  State     ZIP Code

 2._

        Name


        Number         Street


        City                                  State      ZIP Code


 2._

        Name


        Number         Street


        City                                  State      ZIP Code

  2._

        Name


        Number         Street


        City                                  State      ZIP Code

  2._

        Name


        Number         Street


        City                                  State      ZIP Code


  2._

        Name


        Number         Street


        City                                  State      ZIP Code


  2._

        Name


        Number         Street


        City                                  State      ZIP Code



Official Form 106G                                    Schedule G: Executory Contracts and Unexpired Leases                         page   of
                  Case 19-56547-sms                          Doc 1             Filed 04/29/19 Entered 04/29/19 12:18:42                                 Desc
                                                                              Petition Page 44 of 59

 Fill in this information to identify your case:

 Debtor 1           Anita y chester
                     First Name                      Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (If known)
                                                                                                                                                    0   Check if this is an
                                                                                                                                                        amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      •     No
      O Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      21 No. Go to line 3.
      O Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            U No
            CI    Yes. In which community state or territory did you live?                                . Fill in the name and current address of that person.



                  Name of your spouse, former spouse, or legal equivalent



                   Number            Street



                  City                                             State                      ZIP Code


 3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
       shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
       Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to fill out Column 2.

          Column 1: Your codebtor                                                                                Column 2: The creditor to whom you owe the debt

                                                                                                                  Check all schedules that apply:
3.1
                                                                                                                   0   Schedule D, line
           Name
                                                                                                                   0   Schedule E/F, line
           Number           Street                                                                                 0   Schedule G, line

           City                                                       State                    ZIP Code

3.2
           Name
                                                                                                                   0   Schedule D, line
                                                                                                                       Schedule E/F, line
           Number           Street                                                                                 0   Schedule G, line

           City                                                       State                    ZIP Code

3.3
                                                                                                                   0   Schedule D, line
           Name
                                                                                                                       Schedule E/F, line
           Number           Street                                                                                 0   Schedule G, line

                                                                      State
                                                                        .,                     ZIP Code

--
Official Form 1061-1                                                           Schedule H: Your Codebtors                                                 page 1 of
                 Case 19-56547-sms               Doc 1          Filed 04/29/19 Entered 04/29/19 12:18:42                             Desc
                                                               Petition Page 45 of 59
 Debtor 1         Anita y chester                                                           Case number (If known)
                   First Name      Middle Name   Last Name



                  Additional Page to List More Codebtors

       Column /: Your codebtor                                                                    Column 2: The creditor to whom you owe the debt

                                                                                                   Check all schedules that apply:
 3._


         Name
                                                                                                   LI   Schedule D, line
                                                                                                        Schedule E/F, line
         Number           Street                                                                   0    Schedule G, line


                                                      State                    ZIP Code

 3._

         Name
                                                                                                   CI   Schedule D, line
                                                                                                   0    Schedule E/F, line
         Number           Street                                                                   0    Schedule G, line


         City                                         State                    ZIP Code

 3._
                                                                                                   0    Schedule D, line
         Name
                                                                                                   0    Schedule E/F, line
         Number           Street                                                                    0   Schedule G, line


         City                                         State                    ZIP Code

 3._
                                                                                                   CI   Schedule D, line
         Name
                                                                                                    0   Schedule E/F, line
         Number           Street                                                                    0   Schedule G, line


         City                                         State                    ZIP Code
 3._
                                                                                                   Ll Schedule D, line
         Name
                                                                                                   0    Schedule E/F, line
         Number           Street                                                                    0   Schedule G, line


         Ci!y_                                         State                   ZIP Code

 3._
                                                                                                        Schedule D, line
         Name
                                                                                                    0   Schedule E/F, line
         Number           Street                                                                        Schedule G, line


         City                                          State                   ZIP Code


                                                                                                    Ll Schedule D, line
         Name
                                                                                                    0   Schedule E/F, line
         Number           Street                                                                    0   Schedule G, line


         C#y                                           State                   ZIP Code


                                                                                                    0   Schedule D, line
         Name
                                                                                                    Ll Schedule E/F, line
         Number           Street                                                                    0   Schedule G, line


       ,._.,.._____                                    State                   ZIP Code




Official Form 106H                                             Schedule H: Your Codebtors                                             page   of
               Case 19-56547-sms                   Doc 1       Filed 04/29/19 Entered 04/29/19 12:18:42                                       Desc
                                                              Petition Page 46 of 59

 Fill in this information to identify your case:


 Debtor 1              Anita Y Chester
                       First Name          Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing)   First Name          Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                              Check if this is:
 (If known)
                                                                                                                An amended filing
                                                                                                          U A supplement showing postpetition chapter 13
                                                                                                            income as of the following date:
Official Form 1061                                                                                              MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:               Describe Employment


1. Fill in your employment
   information.                                                               Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                 U Employed                                          Employed
    employers.                                                             IA Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
    Occupation may include student
    or homemaker, if it applies.
                                         Employer's name


                                         Employer's address
                                                                           Number   Street                              Number      Street




                                                                           City              State   ZIP Code           City                  State   ZIP Code

                                         How long employed there?


                       Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1        For Debtor 2 or
                                                                                                                         non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.              2.

 3. Estimate and list monthly overtime pay.


 4. Calculate gross income. Add line 2 + line 3.                                             4.




Official Form 1061                                                 Schedule I: Your Income                                                            page 1
             Case 19-56547-sms                   Doc 1       Filed 04/29/19 Entered 04/29/19 12:18:42                                      Desc
                                                            Petition Page 47 of 59

Debtor 1      Anita Y Chester                                                                 Case number (11 known)
               First Name    Middle Name        Last Name



                                                                                             For Debtor 1              For Debtor 2 or
                                                                                                                       non-filina spouse

   Copy line 4 here                                                                4   4.    $

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                 5a.   $                           $
     5b. Mandatory contributions for retirement plans                                  5b.   $                           $
     5c. Voluntary contributions for retirement plans                                  5c.   $                           $
     5d. Required repayments of retirement fund loans                                  5d.   $                           $
     5e. Insurance                                                                     5e.   $                           $
     5f. Domestic support obligations                                                  5f.   $                           $

     5g. Union dues                                                                    5g.   $                           $

     5h. Other deductions. Specify:                                                    5h. +$                          + $

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.        6.    $


 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                7.    $


 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
           monthly net income.                                                         8a.
     8b. Interest and dividends                                                        8b.
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
           settlement, and property settlement.                                        8c.
     8d. Unemployment compensation                                                     8d.
     8e. Social Security                                                               8e.

     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: food stamps                                                      8f.       $       198.00              $

     8g. Pension or retirement income                                                  8g.   $

     8h. Other monthly income. Specify:       disability                               8h. + $       790.00            +$
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.              9.           988.00

10.Calculate monthly income. Add line 7 + line 9.                                                    988.00
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.          10.

11.State all other regular contributions to the expenses that you list in Schedule J
   Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
   friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: food     stamps                                                                                                           11. +

12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                       12.
                                                                                                                                                       988.00
   Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies
                                                                                                                                               Combined
                                                                                                                                               monthly income
  13.Do you expect an increase or decrease within the year after you file this form?
     IA No.
           Yes. Explain:


Official Form 1061                                              Schedule I: Your Income                                                           page 2
                 Case 19-56547-sms                    Doc 1       Filed 04/29/19 Entered 04/29/19 12:18:42                                   Desc
                                                                 Petition Page 48 of 59


   Fill in this information to identify your case:

   Debtor 1         Anita Y Chester
                      First Name             Middle Name                  Last Name                      Check if this is:
   Debtor 2                                                                                              0 An amended filing
   (Spouse, if filing) First Name            Middle Name                  Last Name
                                                                                                         [J A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Northern District of Georgia                                      expenses as of the following date:
   Case number                                                                                               MM / DD/ YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                             12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

1. Is this a joint case?

    IA No. Go to line 2.
    0 Yes. Does Debtor 2 live in a separate household?
                 • No
                 O Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                 Id    No
                                                                                      Dependent's relationship to              Dependent's   Does dependent live
    Do not list Debtor 1 and                CI   Yes. Fill out this information for   Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent
                                                                                                                                             O No
    Do not state the dependents'
    names.                                                                                                                                   O Yes

                                                                                                                                             0 No
                                                                                                                                             O Yes

                                                                                                                                             O No
                                                                                                                                             O Yes

                                                                                                                                             O No
                                                                                                                                             O Yes

                                                                                                                                             O No
                                                                                                                                             O Yes

 12.Do your expenses include
                                            QI No
    expenses of people other than
    yourself and your dependents?              Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                            Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                350.00
     any rent for the ground or lot.                                                                                     4.

      If not included in line 4:
      4a. Real estate taxes                                                                                              45.     $

      4b. Property, homeowner's, or renter's insurance                                                                   4b.     $

      4c. Home maintenance, repair, and upkeep expenses                                                                  4c.     $

      4d. Homeowner's association or condominium dues                                                                    4d.     $


Official Form 106J                                              Schedule J: Your Expenses                                                           page 1
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 Debtor 1        Anita Y Chester                                                         Case number (if known)
                 First Name     Middle Name      Last Name




                                                                                                                            Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                    5.

 6. Utilities:
      6a.   Electricity, heat, natural gas                                                                        6a.                       180.00
      6b.   Water, sewer, garbage collection                                                                      6b.                        60.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.

      6d.   Other. Specify:                                                                                       6d.

 7. Food and housekeeping supplies                                                                                7.                        198.00

 8. Childcare and children's education costs                                                                      8.

 9. Clothing, laundry, and dry cleaning                                                                           9.

10. Personal care products and services                                                                           10.

11. Medical and dental expenses                                                                                   11.

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                             50.00
      Do not include car payments.                                                                                12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                          13.

14.   Charitable contributions and religious donations                                                            14.

15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                         15a.

      15b. Health insurance                                                                                       15b.

      15c. Vehicle insurance                                                                                      15c.                       86.00
      15d. Other insurance. Specify:                                                                              15d.


16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                    16.

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                             17a.      $

      17b. Car payments for Vehicle 2                                                                             17b.      $

      17c. Other. Specify:                                                                                        17c.      $

      17d. Other. Specify:                                                                                        17d.      $

15. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                              18
                                                                                                                        '   $

19. Other payments you make to support others who do not live with you.
      Specify:                                                                                                     19.      $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                            20a.

      20b. Real estate taxes                                                                                      20b.

      20c. Property, homeowner's, or renter's insurance                                                           20c.

      20d. Maintenance, repair, and upkeep expenses                                                               20d.

      20e. Homeowner's association or condominium dues                                                            20e.



Official Form 106J                                           Schedule J: Your Expenses                                                        page 2
                 Case 19-56547-sms                Doc 1         Filed 04/29/19 Entered 04/29/19 12:18:42                       Desc
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 Debtor 1        Anita Y Chester                                                              Case number (fmown)
                  First Name    Middle Name       Last Name




21. Other. Specify:                                                                                                 21.   +$


22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                             22a.             574.00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                     22b.

       22c. Add line 22a and 22b. The result is your monthly expenses.                                          22c.             574.00


 23. Calculate your monthly net income.
      23a.   Copy line 12 (your combined monthly income) from Schedule I.
                                                                                                                                 988.00
                                                                                                                23a.

      23b.   Copy your monthly expenses from line 22c above.                                                    23b.       $     574.00

      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.
                                                                                                                                 414.00
                                                                                                                23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      R1 No.
      1:1 Yes.      Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                           page 3
                  Case 19-56547-sms                      Doc 1    Filed 04/29/19 Entered 04/29/19 12:18:42                               Desc
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Fill in this information to identify your case:

Debtor 1          Anita Y Chester
                   First Name              Middle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name             Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number                                                                                                                              0 Check if this is an
 (If known)                                                                                                                                  amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  •   creditors have claims secured by your property, or
  •   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

          Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                   secures a debt?                                   as exempt on Schedule C?

         Creditor's                                                                0 Surrender the property.                         LI No
         name:
                                                                                   0 Retain the property and redeem it.              0 Yes
         Description of
         property                                                                  0 Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:


         Creditor's                                                                CI Surrender the property.                        LI No
         name:
                                                                                   CI Retain the property and redeem it.             0 Yes
         Description of
         property                                                                  0 Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:

         Creditor's                                                                0 Surrender the property.                         0 No
         name:
                                                                                   0 Retain the property and redeem it.              0 Yes
         Description of
         property                                                                  0 Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:

         Creditor's                                                                0 Surrender the property.                         CI No
         name:
                                                                                   0 Retain the property and redeem it.              0 Yes
         Description of
         property                                                                  0 Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:


  Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
             Case 19-56547-sms                     Doc 1        Filed 04/29/19 Entered 04/29/19 12:18:42                               Desc
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Debtor 1       Anita Y Chester                                                                 Case number   (If known)
               First Name          Middle Name     Last Name




  Part 2:      List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                                   Will the lease be assumed?

      Lessor's name:                                                                                                      LI No
                                                                                                                          0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                      0 No
                                                                                                                          0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                      LI No

      Description of leased                                                                                               0 Yes
      property:


      Lessor's name:                                                                                                      1:1 No
                                                                                                                          0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                         No
                                                                                                                          0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                      CI No
                                                                                                                          0 Yes
      Description of leased
      property:



      Lessor's name:                                                                                                      LI No
                                                                                                                          0 Yes
      Description of leased
      property:




  Part 3:       Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



   xaeckA
      Signature of Debtor 1                                         Signature of Debtor 2

      Date                                                          Date
                              YY                                           MM /   DD/   YYYY




Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                            page 2
                Case 19-56547-sms                         Doc 1     Filed 04/29/19 Entered 04/29/19 12:18:42                              Desc
                                                                   Petition Page 53 of 59


 Fill in this information to identify your case:

  Debtor 1              Anita Y Chester
                        First Name                Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)   First Name                Middle Name                Last Name


  United States Bankruptcy Court for the:     Northern District of Georgia

  Case number                                                                                                                          D Check if this is an
                        (If known)                                                                                                         amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


                 Summarize Your Assets


                                                                                                                                    Your assets
                                                                                                                                    Value of what you own
 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B


     lb. Copy line 62,         Total personal property, from Schedule A/B


     1c. Copy line 63, Total of all property on Schedule NB



=I               Summarize Your Liabilities


                                                                                                                                     Your liabilities
                                                                                                                                     Amount you owe
 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

     3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F
                                                                                                                                    + $


                                                                                                           Your total liabilities



                 Summarize Your Income and Expenses


 4. Schedule 1: Your Income (Official Form 1061)
    Copy your combined monthly income from line 12 of Schedule I

 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J




 Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                 page 1 of 2
                 Case 19-56547-sms                     Doc 1        Filed 04/29/19 Entered 04/29/19 12:18:42                              Desc
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  Debtor 1       Anita Y Chester                                                                 Case number (if known)
                  First Name         Middle Name       Last Name




                 Answer These Questions for Administrative and Statistical Records


   6   Are you filing for bankruptcy under Chapters 7, 11, or 13?

       1:1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       Eli Yes


   7. What kind of debt do you have?

       ¢1 Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
          family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       LI Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        790.00




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule OF:


                                                                                                          Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


       9d. Student loans. (Copy line 6f.)


       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)


       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$



       9g. Total. Add lines 9a through 9f.                                                                                    0.00




Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                     page 2 of 2
              Case 19-56547-sms                    Doc 1      Filed 04/29/19 Entered 04/29/19 12:18:42                                         Desc
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 Fill in this information to identify your case:                                                        Check one box only as directed in this form and in
                                                                                                        Form 122A-1Supp:
 Debtor 1         Anita Y Chester
                    First Name              Middle Name                 Last Name
                                                                                                        CI 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name             Middle Name                 Last Name                       O 2. The calculation to determine if a presumption of
                                                                                                             abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia                                        Means Test Calculation (Official Form 122A-2).

 Case number                                                                                            O 3. The Means Test does not apply now because of
 (If known)                                                                                                  qualified military service but it could apply later.


                                                                                                        O Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
      El Not married. Fill out Column A, lines 2-11.
      LI Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
           Married and your spouse is NOT filing with you. You and your spouse are:
                  Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                  Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A             Column B
                                                                                                        Debtor 1             Debtor 2 or
                                                                                                                             non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).
                                                                                                         $      790.00

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.
 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.
 5. Net income from operating a business, profession,
                                                                    Debtor 1         Debtor 2
    or farm
    Gross receipts (before all deductions)
      Ordinary and necessary operating expenses                    —$               — $
                                                                                                Copy
      Net monthly income from a business, profession, or farm           $                       here+    $
 6. Net income from rental and other real property                  Debtor 1         Debtor 2
    Gross receipts (before all deductions)                           $                $
      Ordinary and necessary operating expenses                    — $              — $
                                                                                                Copy
      Net monthly income from rental or other real property                                     here+    $                     $
                                                                        $             $
 7. Interest, dividends, and royalties                                                                   $                     $



Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                      page 1
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Debtor 1       Anita Y Chester                                                                  Case number (if known)
               First Name      Middle Name        Last Name



                                                                                                     Column A             Column B
                                                                                                     Debtor 1             Debtor 2 or
                                                                                                                          non-filing spouse
 8. Unemployment compensation
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here:
       For you
       For your spouse

 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.




      Total amounts from separate pages, if any.

 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                     790.00                                $      790.00
                                                                                                                                                  Total current
                                                                                                                                                  monthly income

 Part 2:      Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a. Copy your total current monthly income from line 11                                                         Copy line 11 here+      $        790.00
             Multiply by 12 (the number of months in a year).                                                                                 x 12
     12b. The result is your annual income for this part of the form.                                                                12b.     $       9,480.00

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                          georgia

     Fill in the number of people in your household.               1

     Fill in the median family income for your state and size of household.                                                          13.      $ 46,104.00
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office.
 14. How do the lines compare?

     14a.LI Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
            Go to Part 3.

     14b.U     Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
               Go to Part 3 and fill out Form 122A-2.

 Part 3:       Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                  Signature of Debtor 1                                                       Signature of Debtor 2


                  Date                                                                        Date
                            MI DD    / YYY                                                           MM / DD / YYYY

                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.


Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                      page 2
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01255832 (LP) OF 04/29/2019


ITEM     CODE   CASE          QUANTITY                        AMOUNT   BY

   1     7IN    19-56547              1                       $ 0.00   Currency
                Judge - unknown at time of receipt
                Debtor - ANITA Y. CHESTER


TOTAL:                                                        $ 0.00


FROM: Anita Y. Chester
      4748 White Oak Path
      Stone Mountain, GA 30088




                                     Page 1 of 1
                 Case 19-56547-sms                  Doc 1       Filed 04/29/19 Entered 04/29/19 12:18:42                                  Desc
                                                               Petition Page 59 of 59
   Case Number:                19-56547                       Name: Chester                                                              Chapter:          7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

IZ Individual - Series 100 Forms                                                             •     Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                             Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                            El Last 4 digits of SSN
 0 Pro Se Affidavit (due within 7 days, signature must be notarized,                             O Address        i County
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                            O Type of   Debtor
 El Signed Statement of SSN (due within 7 days)                                                  O Chapter
                                                                                                 0 Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                          El Statistical Estimates
   El Statement of Financial Affairs                                                             O Venue
   0 Schedules: A/B CD El F GHIJ 0 J-2 (different address for Debtor 2)                          El Attorney Bar Number
   El Summary of Assets and Liabilities
   El Declaration About Debtor(s) Schedules                                                                             Case filed via:
   1=1 Attorney Disclosure of Compensation                                                          El Intake Counter by:
   El Petition Preparer's Notice, Declaration and Signature (Form 119)                                   El Attorney
   El Disclosure of Compensation of Petition Preparer (Form 2800)                                        El Debtor - verified ID 770-572-5072
   0 Chapter 13 Current Monthly Income                                                                   0 Other-copy of ID:
   O Chapter 7 Current Monthly Income
   El Chapter 11 Current Monthly Income                                                             El Mailed by:
   El Certificate of Credit Counseling (Individuals only)                                               El Attorney
       Pay Advices (Individuals only) (2 Months)                                                        0 Debtor
   O Chapter 13 Plan, complete with signatures (local form)                                             1=1 Other:
   O Corporate Resolution (Business Ch. 7 & 11)
                                                                                                              History of Case Association
   Ch.11 Business
   O 20 Largest Unsecured Creditors                                                                Prior cases within 2 years: None
   O List of Equity Security Holders
   O Small Business - Balance Sheet                                                                                                                        --
                                                                                                   Signature:            /1.
                                                                                                                    ,tcc.1“
   El Small Business - Statement of Operations
   O Small Business - Cash Flow Statement                                                          Acknowledgment of Receivj4 Notice of Deficiency
   O Small Business - Federal Tax Returns

   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   O Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.goviservices-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
       III Paid $ 0      E 2g-Order Granting        0 3g-Order Granting 10-day (initial payment of $                due within 10 days)
           2d-Order Denying with filing fee of $_____ due within 10 days El IFP filed (Ch.7 Individuals Only)
         1:1 No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.

                                                                                                                                 to the address
                   You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only             below.
                             All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                     **Failure to Comply may result in the dismissal of your case.**
                                                         UNITED STATES BANKRUPTCY COURT
                                                           75 Ted Turner Drive, SW, Room 1340
                                                                  Atlanta, Georgia 30303
                                                                      404-215-1000

 Intake Clerk:      LP                Date: 4/29/19                        Case Opener:                                                 Date:
